     Case 2:20-cv-07980-MRW Document 29 Filed 11/16/21 Page 1 of 2 Page ID #:228




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 7                                     UNTIED STATES DISTRICT COURT
 8                                    CENTRAL DISTRICT OF CALIFORNIA
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10      POINT A TECHNOLOGIES, INC., a                     Case No.: 2:20-CV-07980-MRW
        California corporation,                           Judge: Hon. Michael R. Wilmer
11

12                       Plaintiff,
                                                          [PROPOSED] ORDER DISMISSING
13         v.                                             ENTIRE CASE WITH PREJUDICE
14
        LODGE MANUFACTURING
15      COMPANY, a Tennessee corporation;
        DOES 1 through 25, Inclusive,
16
                    Defendants.
17
        __________________________________
18
        LODGE MANUFACTURING
19      COMPANY, a Tennessee corporation,
20
                         Counter – Claimant,
21        v.

22      POINT A TECHNOLOGIES, INC., a
23
        California corporation,

24                      Counter – Defendant.
25

26
                Pursuant to the parties’ stipulation to dismiss this entire case with prejudice and good cause
27
       appearing therefor,
28
                                                   Page 1 of 2
        _______________________________________________________________________________________________
                   [PROPOSED] ORDER DISMISSING ENTIRE CASE WITH PREJUDICE
     Case 2:20-cv-07980-MRW Document 29 Filed 11/16/21 Page 2 of 2 Page ID #:229




 1
       IT IS ORDERED that:
 2
          1. This action is dismissed with prejudice in its entirety; and
 3
          2. Each party is to bear its own attorney’s fees and costs incurred in this action.
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             1RYHPEHU 
       Date: ______________, 2021
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 7                                                          ___________________________________
                                                            Hon. Michael R. WilQer
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                                                            United States Magistrate Judge
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                                                   Page 2 of 2
        _______________________________________________________________________________________________
                 [PROPOSED] ORDER DISMISSING ENTIRE CASE WITH PREJUDICE
